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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

BROIDY CAPITAL MANAGEMENT, LLC and
ELLIOTT BROIDY
                    Plaintiffs,

       v.                                                  Civil Action No. 1:19-cv-00150-DLF

NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC
                      Defendants.

                  REPLY IN FURTHER SUPPORT OF DEFENDANTS’
                 EMERGENCY MOTION FOR A PROTECTIVE ORDER

       Defendants Nicolas D. Muzin and Stonington Strategies LLC (together, “Stonington

Defendants”), Joseph Allaham, and Gregory Howard (collectively, “Defendants”), by counsel

hereby submit this Reply in Further Support of their Emergency Motion for a Protective Order and

respond to the Opposition Brief, ECF No. 92 (“Opp’n”), filed by Plaintiffs Broidy Capital

Management, LLC and Elliott Broidy (together “Broidy”).

                                       INTRODUCTION

       Broidy’s Opposition entirely misses the point. Despite the Court expressly ordering Broidy

to “propose an alternative order that ‘protect[s] Qatar’s absolute FSIA immunity and the attendant

burdens of litigation,’” Min. Order, Nov. 30, 2021 (citation omitted), Broidy disputes that Qatar’s

immunity interests are even implicated. According to Broidy, because Qatar is no longer a party

to this case, the California Protective Order1 is unnecessary. And he claims that Defendants lack

“standing” to propose the same protections here. Thus, far from proposing protections for Qatar’s

immunity, Broidy asks this Court to disregard that immunity.



1
 All capitalized terms have the meaning ascribed to them in Defendants’ Memorandum in Support
of its Emergency Motion for a Protective Order, ECF No. 90-1 (“Emergency Mot.”).
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       This, of course, ignores the realities of this case. The California court already determined

that Qatar’s documents and information are implicated by Broidy’s allegations, and Broidy gives

no explanation for why discovery in this case will be different. Nor could he. Indeed, Broidy fails

even to respond to the fact that Defendant Allaham—as well as multiple other third parties—

provided documents and testimony in the California Litigation that “contains or comprises”

information “relat[ed] to the conduct by Qatar of its foreign policy.” See Order at 1, California

Litigation, ECF No. 242. And Broidy himself has already attempted to use documents covered by

the California Protective Order in this case (improperly), and he has twice asked for them since

the start of discovery.

       At bottom, Defendants’ proposed protective order is not, as Broidy claims, an effort to shut

down discovery at Qatar’s behest. The California Litigation belies that claim—thousands of pages

of documents were produced and Defendant Allaham’s deposition was taken, yet only a minimal

amount of information was deemed subject to Qatar’s privileges and immunities. See, e.g.,

California Litigation, ECF No. 238 (attaching redacted materials); see Order, California Litigation,

ECF No. 242 (upholding all challenged designations). Instead, Defendants simply ask this Court

to implement the California Protective Order with some additional protections to provide for the

orderly review of what Broidy himself claims will be extensive third-party (and potentially

international) discovery, see Fed. R. Civ. P 26(c)(1)(B), (C), (G), in a way that recognizes Qatar’s

immunity and safeguards against the precipitous circulation or publication of privileged

information.

       Finally, Defendants are not asking this Court to make any substantive determinations on

the scope of Qatar’s immunity or the Vienna Conventions. Indeed, one of the goals of the

protective order is to establish a process by which the parties and third parties can litigate those



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issues if necessary, while at the same time ensuring that the immunities at issue do not become

moot by virtue of disclosure without proper protections. Given the practical reality that Broidy’s

discovery requests implicate Qatar’s immunities, and considering Broidy’s history of leaking

documents to the press, Defendants’ proposed protective order—not Broidy’s—sufficiently

“protect[s] Qatar’s absolute FSIA immunity and the attendant burdens of litigation.” Min. Order,

Nov. 30, 2021 (citation omitted).

                                         ARGUMENT

I.     BROIDY FAILS TO DEMONSTRATE THAT THE CALIFORNIA PROTECTIVE ORDER IS
       INAPPROPRIATE HERE.

       Broidy offers no credible explanation why discovery in this case will proceed differently

than in the California Litigation such that the protections in the California Protective Order are

unnecessary. He simply contends that the California case history is irrelevant because Qatar is no

longer a party. But that completely disregards what, in fact, happened in California, mostly as a

result of Broidy’s own actions.

       Broidy’s case focuses on Qatar, which he accuses of orchestrating and directing an

elaborate operation to hack Broidy’s computers and disseminate documents to the media. In the

California Litigation, Broidy issued over eighty third-party subpoenas to alleged Qatari agents and

telecommunications companies that resulted in thousands of pages of documents being produced

and a deposition of Defendant Allaham. Although Qatar had no opportunity to protect its

privileged information prior to disclosure, it later designated only a discrete subset of the

documents and testimony as attorneys’ eyes only under the California Protective Order as

implicating its immunity. And the California court upheld every one of those designations. See

Order, California Litigation, ECF No. 242.




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       There can be no dispute that the same types of documents and testimony—including some

of the exact same documents—will be at issue again here. And Broidy does not contend otherwise.

Indeed, he simply ignores that some of the documents produced by Defendant Allaham in the

California case included communications with the Stonington Defendants. And he likewise

ignores that he has sought to obtain copies of materials “relat[ed] to the conduct by Qatar of its

foreign policy” in this litigation. See, e.g., ECF No. 19 (motion to expedite seeking production of

protected discovery material from California Litigation); Emergency Mot. Exs. 2, 3 (requesting

documents from Defendants Muzin and Allaham regarding their work for and relationships with

Qatar); Emergency Mot. Exs. 7, 11 (requesting copies of attorneys’ eyes only documents filed in

the California Litigation). Thus, whether or not Qatar is a party in this case, Broidy has put Qatar’s

conduct and Qatar’s materials at issue, and there is no basis whatsoever to provide fewer

protections than the Court ordered in California.

       Broidy’s “standing” argument is as irrelevant as it is legally baseless. Broidy’s cases in no

way support the claim that Defendants (as parties with an interest in discovery materials to be

produced) cannot claim appropriate protections. The idea that Defendants, who are in possession

of documents already subject to the California Protective Order, lack a cognizable interest in

obtaining the same protections here borders on the frivolous. Indeed, the failure to enter a

protective order with at least the same protections as the California Protective Order would place

Defendants in the impossible position of complying with conflicting confidentiality obligations.

       Moreover, Broidy’s “standing” argument is premised on a straw man: the notion that

Defendants are seeking to assert Qatar’s sovereign privileges on its behalf. But Defendants’

proposed protective order does not, as Broidy contends, claim absolute immunity for any of their

materials or Qatar’s. Instead, the proposed protective order sets reasonable procedures for making



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immunity claims before immunity has been vitiated and allows for orderly resolution of disputes

regarding those claims.

        To the extent Broidy is concerned about over-designation or abuse of confidentiality

protections, his concern is baseless. Indeed, Defendants’ proposed protective order bars blanket

designations, Emergency Mot. Ex. A at 6, and provides an efficient process for challenging any

confidentiality designations, id. at 10–11.     Again, the designations made in the California

Litigation demonstrate that these limitations have been taken seriously. Thus, any purported

concern about over-designation is speculative at this stage. Should this ever become an issue,

Broidy can challenge any designations using the challenge provisions in Defendants’ proposed

protective order.

II.     BROIDY FAILS TO DEMONSTRATE THAT DEFENDANTS’ ADDITIONAL PROPOSED
        PROTECTIONS ARE INAPPROPRIATE.

        Broidy likewise fails to establish that Defendants’ additional proposed protections beyond

the California Protective Order are unwarranted. Other than stating his dislike of the Immunity

Protocol, Broidy has very little to say specifically about why it should not be implemented. To

the contrary, the Immunity Protocol simply provides a process for reviewing third-party subpoena

responses that may implicate Qatar’s diplomatic immunity in a way that avoids what happened in

California. See id. at 15–16. Specifically, the Immunity Protocol seeks to prevent the circulation

or leaking of produced documents before the relevant individuals or entities have a chance to

protect their materials.2




2
  The post-production attorneys’ eyes only period (like the one included in the California
Protective Order) creates a backstop to allow the relevant parties to identify sensitive material and
make appropriate designations in the event privileged documents are produced notwithstanding
the Immunity Protocol.

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       Broidy also fails to provide any explanation for why he eliminates Defendants’ proposed

jurisdictional provision in his proposed order. As Broidy has already demonstrated in both the

California case and here, and as he expressly stated in the Rule 16 report, see ECF No. 91, this

case will include extensive third-party discovery. The common-sense purpose of Defendants’

proposal was to memorialize the parties’ consent to transfer any motions practice arising out of

third-party subpoenas to this Court pursuant to Federal Rule of Civil Procedure 45(f). Absent

transfer, such discovery will likely necessitate costly and inefficient discovery proceedings in

courts across the United States, and more importantly, risks inconsistent rulings on important

issues of immunity, privilege, and Vienna Conventions protections. All parties can only benefit

from an orderly review of disputed issues in this Court.

III.   THE COURT NEED NOT DETERMINE THE SCOPE OF QATAR’S PRIVILEGES AND
       IMMUNITIES AT THIS TIME.

       Without making his own motion, Broidy asks the Court to impose a blanket ruling, via his

proposed order, that no non-State individual or entity could ever possess documents subject to

protection under the Vienna Conventions. See ECF No. 92-2 at 3 (allowing Vienna Convention

protections only “if the Producing Party is a sovereign state or any diplomatic or consular mission

of a sovereign state”). Broidy’s proposed confidentiality designations, further, would undermine

the protections granted in the California Litigation, by removing protections for materials relating

to the conduct by Qatar of its foreign policy. Id. (deleting this portion of the “attorneys’ eyes only”

definition stated in the California Protective Order). In other words, Broidy effectively asks—

without a single case in support—that this Court overrule the California Protective Order on

grounds that the California court rejected and in direct contravention to the plain language of the

Conventions, which the California court found extend to documents in the possession of third

parties, including Defendants. Compare California Litigation, ECF No. 185 at 11–15, with Opp’n


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at 20–24; see also Vienna Convention on Diplomatic Relations, art. 24 (protecting diplomatic

materials “wherever they may be”); Order, California Litigation, ECF No. 242.

       But as explained supra, there is no basis whatsoever for removing the protections ordered

by the California court or relitigating the Ninth Circuit’s substantive determinations on Qatar’s

immunity. Indeed, there is no need to address the scope of Qatar’s privileges and immunities at

all at this time. Again, Defendants’ protective order allows the parties to challenge immunity

designations before this Court. If and when such challenges occur, this Court will have the

opportunity to rule on the scope of Qatar’s privileges and immunities with respect to specific

documents and testimony and after the parties have fully briefed this substantial issue.

IV.    BROIDY’S PROPOSED PROTECTIVE ORDER IS INADEQUATE AND WILL IMPOSE A
       SIGNIFICANT BURDEN ON THE COURT.

       Broidy’s proposed protective order is wholly inadequate. It includes no mechanism by

which Qatar, or Defendants, can prevent the forbidden disclosure of protected materials, at least

until any challenge to such nondisclosure is properly resolved, before Qatar’s privileges and

immunities are irreparably compromised. Specifically, it does not provide Qatar an opportunity

to invoke its Vienna Conventions rights with respect to privileged documents requested from

Defendants and third parties before such documents are produced (the only protections allowed

are for documents requested from Qatar itself). See ECF No. 92-2 at 2–3, 16–18 (Broidy’s

proposed deletion of provisions that would provide such an opportunity). Nor does it allow the

Defendants an opportunity to prevent disclosure of such documents. See id. at 3 (allowing Vienna

Convention protections only “if the Producing Party is a sovereign state or any diplomatic or

consular mission of a sovereign state”).

       In addition, Broidy’s proposed protective order threatens to disrupt this litigation and

overwhelm the Court with avoidable motion practice. As Broidy implicitly acknowledges, if his


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proposed order were adopted, Qatar may be forced to blindly move to quash every discovery

request that might implicate its privileged diplomatic and consular activities. See Opp’n at 9

(arguing that “Qatar is monitoring this case, and if and when it seeks protection from this Court,

the Court can exercise its discretion . . . to grant relief”). This will unnecessarily burden the Court

and significantly delay resolution of this action.

                                          CONCLUSION

       For the foregoing reasons, and the reasons stated in Defendants’ Emergency Motion for a

Protective Order, the Court should enter Defendants’ proposed protective order and grant such

other relief as appropriate.



Dated: December 6, 2021

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